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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

CARMEN R. HARDY,                       *

       Plaintiff,                      *

vs.                                    *        CASE NO. 4:09-CV-119 (CDL)

PHARMACIA CORPORATION, et al.,         *

       Defendants.                     *


                                   O R D E R

       Plaintiff moves to compel responses to her requests for

production (ECF No. 26).        For the following reasons, the motion

to compel is granted in part and denied in part.             Defendants are

ordered to produce the requested Dilantin, Cerebyx, phenytoin,

and fosphenytoin labels and product guides for the years 2002-

present.1

                                 BACKGROUND

       Plaintiff claims that she was injured because she ingested

Defendants‟ anti-seizure medication product, Dilantin, in 2007.

Among other things, Plaintiff alleges that she developed severe

skin conditions, including Stevens-Johnson Syndrome and Toxic

Epidermal Necrolysis, because she ingested Dilantin.               Plaintiff

also   claims    that   Dilantin    caused     her   permanent   eye   damage.

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  Plaintiff is not presently seeking to compel responses to its
document requests that seek product labels and guides for any of
Defendants‟ products that specifically reference black patients or
other sub-groups.
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Plaintiff   asserts   that   Defendants   failed   to   provide   adequate

warnings regarding the risks of Dilantin.           Among other things,

Plaintiff contends that Defendants did not adequately warn of

increased risks of several hypersensitivity reactions in black

patients.    According to Plaintiff, the Dilantin product label

used in the United States was updated in 2009 to warn of these

increased risks, but previous versions of the label—including

the one that existed in 2007 when Plaintiff ingested Dilantin—

did not.

                               DISCUSSION

     Plaintiff asks the Court to compel responses to Requests 1-

13 of her First Requests for Production of Documents.             Plaintiff

seeks “labels for any and all Dilantin, Cerebyx, phenytoin, or

fosphenytoin products sold or marketed by” Defendants “in all

countries in the world for the years 1995-Present.”2           Pl.‟s Mot.

to Compel Ex. 1, Pl.‟s 1st Req. for Prod. of Docs 9, 15-16, ECF

No. 26-2.   Plaintiff also seeks existing English translations of

labels for these products.       Id. at 10; Pl.‟s Reply in Supp. of

Mot. to Compel 9, 15-16 (“If the English translation exists,

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  With regard to Defendant Pfizer, Plaintiff seeks these documents from
“Defendant Pfizer or any of Pfizer‟s affiliates, subsidiaries, sister
organizations, related entities, agents, or divisions.” E.g., Pl.‟s
Mot. to Compel Ex. 1, Pl.‟s 1st Req. for Prod. of Docs 9, ECF No. 26-
2. Requests 3-4 seek labels and English translations “for any and all
Dilantin, Cerebyx, phenytoin or fosphenytoin products sold or marketed
by Pfizer or any of Pfizer‟s affiliates, subsidiaries, sister
organizations, related entities, agents, or divisions” in certain
countries and regions listed on Pfizer‟s website.        Pl.‟s Mot. to
Compel Ex. 1, Pl.‟s 1st Req. for Prod. of Docs 10-12, ECF No. 26-2.


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Plaintiff is entitled to it and it should be produced. If no

English     translation        of    a      particular    foreign       label     already

exists,     then    Plaintiff       agrees     that   Defendants        should    not    be

required to create one.”).                   Plaintiff further seeks “patient

medication         guides,     patient         information           guides,     consumer

information        guides,   or      other     documents       for    distribution       to

patients” for these products.                Pl.‟s Mot. to Compel Ex. 1, Pl.‟s

1st Req. for Prod. of Docs 12-14, ECF No. 26-2.                         Plaintiff also

seeks existing English translations of these documents.                            Id. at

14-15.      Finally, Plaintiff seeks the labels (and their English

translations) “which specifically reference African Americans,

black patients, or any other sub-group or sub-population.”                              Id.

at 16.

      Defendants       object       to   producing       the    labels     and    product

guides.      Defendants contend that (1) Plaintiff seeks labels and

guides related to products that are not at issue in this case,

(2)   the     labels     and        other     documents        Plaintiff       seeks    are

irrelevant and outside the scope of discovery, (3) Plaintiff is

not entitled to labels and guides referencing sub-groups and

product risks other than those that are specifically at issue in

this case, and (4) Plaintiff‟s requests are cumulative because

Plaintiff‟s counsel already obtained several foreign labels in

another case.        Defendants also contend that if the Court orders

Defendants to produce the labels and product guides, the Court


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should     order     Plaintiff         to    bear     the       cost    of   the    production.

Defendants appear to concede that the documents Plaintiff seeks

are in Defendants‟ possession, custody, or control.

I.     Standard for Discovery

       “Parties may obtain discovery regarding any nonprivileged

matter that is relevant to any party's claim or defense[.]”

Fed.    R.    Evid.   26(b)(1).              “Relevant          information        need   not   be

admissible      at    the    trial      if     the    discovery         appears      reasonably

calculated to lead to the discovery of admissible evidence.”

Id.

II.    Products Other than Dilantin/Phenytoin

       Plaintiff seeks discovery of product labels and guides for

Dilantin,      Cerebyx,      phenytoin,          and        fosphenytoin.            Defendants

summarily argue that the request is overbroad because “[o]ther

medications‟         labeling      content           are        [sic]    not    important       to

resolving whether the Dilantin® label was adequate.”                                 In support

of this argument, Defendants rely on Bouchard v. American Home

Products Corp., 213 F. Supp. 2d 802, 811 (N.D. Ohio 2002), in

which the district court granted a motion in limine to exclude

from trial evidence of a drug that was “chemically similar” but

“not the same” as the drug at issue in that case.

       Bouchard       does       not        support        Defendants‟         argument     that

Plaintiff may not discover information about other drugs that

are    very   similar       to   or     the    same        as    Dilantin.         The    product


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Dilantin contains the active ingredient phenytoin.                          The product

Cerebyx contains the active ingredient fosphenytoin.                          According

to Plaintiff, fosphenytoin is “the same drug with a different

delivery route.”            Pl.‟s Mem. in Supp. of Mot. to Compel 11, ECF

No. 26-1.       Defendants have not disputed this statement, and the

Court concludes that Plaintiff‟s request for the fosphenytoin

and Cerebyx labels is not overbroad.

III. Relevance of Labels and Guides Sought by Plaintiff

       Defendants contend that the labels and medication guides

sought by Plaintiff are irrelevant and outside the scope of

discovery.          Defendant contends that the documents sought are

“foreign regulatory materials” that are only relevant on issues

of    foreign       regulatory      actions         and    foreign   law.     The   Court

disagrees.

       To establish her failure to warn claim, Plaintiff must show

that (1) Defendants had a duty to warn, (2) Defendants breached

that    duty,       and    (3)    the    breach      was    the   proximate   cause    of

Plaintiff‟s injuries.              E.g., Dietz v. SmithKline Beecham Corp.,

598    F.3d    812,       815    (11th   Cir.       2010)   (applying   Georgia     law).

Under Georgia‟s learned intermediary doctrine,                          a prescription

drug manufacturer “does not have a duty to warn the patient of

the dangers involved with the product, but instead has a duty to

warn the patient‟s doctor, who acts as a learned intermediary

between       the    patient      and    the    manufacturer.”          Id.   (internal


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quotation marks omitted).         The warnings to the doctor “must be

adequate or reasonable under the circumstances of the case.”

McCombs v. Synthes (U.S.A.), 277 Ga. 252, 253, 587 S.E.2d 594,

595 (2003).

     Defendants contend that the foreign labels are not relevant

in this action because at least one of them references case

reports, which are ordinarily not sufficient to prove causation

in prescription drug cases.          Defendants further assert that the

foreign labels are not relevant because they merely show that

foreign regulatory bodies acted more quickly than the U.S. Food

and Drug Administration “to add” a stronger warning regarding

certain   risks    of   Dilantin.3     Defendants   also   argue    that   the

product   guides     are    not   relevant   because   Georgia‟s     learned

intermediary doctrine did not require Defendants to warn end

users of their products regarding the products‟ potential risks.

     Defendants miss the point.            The present question for the

Court is whether the request for the foreign labels and guides

is reasonably calculated to lead to the discovery of admissible

evidence—not      whether   the   labels   and   product   guides   will   be

admissible at trial.4         Even if the foreign labels and product


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  The Court notes that Defendants, not the FDA, are responsible for the
content of their product labels. Wyeth v. Levine, 555 U.S. 555, ____,
129 S. Ct. 1187, 1198 (2009).
4
  Defendant asserts that “courts have repeatedly held that evidence of
foreign regulatory actions and labeling are irrelevant in American
litigation, even where plaintiffs contend those decisions are relevant
to „notice‟ in failure-to-warn cases.” Defs.‟ Resp. to Pl.‟s Mot. to


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guides are not ultimately admissible at trial in this case, they

could lead Plaintiff to discover admissible evidence regarding

whether       Defendants‟      warnings       to    Plaintiff‟s        physician     were

adequate and reasonable under the circumstances.                             Cf. Wyeth v.

Levine, 555 U.S. 555, ____, 129 S. Ct. 1187, 1197 (2009) (noting

that, after the first incident of severe complications similar

to    those     experienced     by    the    plaintiff,      similar     complications

continued to occur, and the pharmaceutical company could have

analyzed data regarding the similar complications and added a

stronger warning regarding the drug).                       For example, Plaintiff

could     use    the   labels    and        product   guides      to    discover     what

Defendants knew about the potential risks of the products at

issue here, when Defendants knew about those potential risks,

what follow-up investigations Defendants did to learn more about

those    potential      risks,       and    other   facts    that      are    potentially

relevant to the risk-utility analysis.                      For these reasons, the

Court finds that the labels and guides Plaintiff seeks are not

outside the scope of permissible discovery.

IV.     Labels Referencing Black Patients and other Sub-Groups

        Plaintiff      seeks    all    phenytoin      and    fosphenytoin         foreign

labels     that    reference     black        patients      and   other       sub-groups,


Compel 9, ECF No. 27.     Two Florida district court cases excluding
evidence of foreign regulatory actions regarding prescription drugs
from use at trial do not persuade the Court that the request for
foreign labels in this case is not reasonably calculated to lead to
the discovery of admissible evidence.


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whether    or    not   the   labels     warn    of    the   increased      risks   of

hypersensitivity reactions at issue here.                    Defendants contend

that this request is overbroad                and that discovery should be

limited to information regarding whether Plaintiff‟s doctor was

adequately      warned   about    the   risks    specific       to   one   sub-group

(black patients) and the risks that actually affected Plaintiff.

The learned intermediary doctrine is not so restricted, and the

Court declines to narrow Plaintiff‟s request to one sub-group or

specific risks.

V.     “Cumulative” Labels Sought by Plaintiff

       According to Defendants, Plaintiff has located three pre-

2007   foreign    phenytoin      labels   for    a    product    manufactured      by

Pfizer subsidiaries, and those labels warn that there could be

increased risks of several hypersensitivity reactions in black

patients.       Defendants argue that discovery of any other foreign

labels is cumulative and duplicative of the documents Plaintiff

has already obtained by other means.                 Defendants also argue that

it would be less burdensome for Plaintiff to find foreign labels

“[t]hrough other means and litigation.”                  Defs.‟ Resp. to Pl.‟s

Mot. to Compel. 17, ECF No. 27.               Defendants offer no explanation

as to why it would be less burdensome for Plaintiff to find the

foreign labels, which are in Defendants‟ possession, custody, or

control.




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        As discussed above, Plaintiff‟s request for the labels and

guides is      reasonably   calculated to lead to the discovery of

admissible     evidence.      The    fact   that   Plaintiff‟s    counsel     has

obtained a couple of labels by other means does not establish

that discovery of additional labels would be so cumulative or

duplicative that the discovery should not be permitted.

VI.     Time Frame

        Plaintiff seeks labels and patient guides for the years

1995-present.        Defendants contend that the time frame of the

request is overbroad, and the Court agrees.                Plaintiff‟s claim

focuses on the United States Dilantin label as it existed in

2007.       Plaintiff   contends     that    Defendants   began     warning   in

foreign labels of increased risks of several hypersensitivity

reactions in black patients “at least as early as 2004.”                  Pl.‟s

Mot. to Compel 8, ECF No. 26-1.             Plaintiff offers no explanation

why she needs labels that existed sixteen years ago—twelve years

before      Plaintiff     ingested     Dilantin.          Without     such     an

explanation, the Court declines to compel production of labels

and patient guides for such an expansive timeframe and concludes

that Defendants should only be required to produce labels and

patient guides for the years 2002-present.

VII. Cost Shifting

        Defendants argue that the cost of any production of the

labels and guides should be shifted to Plaintiff.                   Defendants



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contend that their burden of producing the labels and guides

Plaintiff     seeks    would      be    significant           and    would   outweigh       the

“complete lack of benefit” to Plaintiff because the documents

lack “any relevance” to the case.                  Defs.‟ Resp. to Pl.‟s Mot. to

Compel 15-16, ECF No. 27.                As discussed above, the labels and

guides are potentially relevant and are not cumulative, so there

is no “complete lack of benefit” to Plaintiff.

       According to Defendants‟ “conservative estimate,” it would

take “over two hundred weeks of dedicated employee time” and

cost “hundreds of thousands of dollars” to produce the labels.

Id. at 16.      Defendants do not explain why the production process

would be so lengthy and expensive.                       The estimate assumes that

Defendants would have to produce labels and guides going back to

1995    and    that    Defendants        would         need     to    create       translated

versions of the documents that have not already been translated.

As   discussed       above,    discovery          of   the     labels      and     guides    is

limited to 2002-present.               Also, Plaintiff agrees that Defendants

are not required to create new documents—such as translations—in

response to Plaintiff‟s document requests, so Defendants will

not be required to translate any documents.

       The    scope    of   the    production          required       by     the    Court    is

narrower      than    the     scope     of   the       production       contemplated         by

Defendants     in     projecting       the   cost       of    the    production.        And,

again, the labels and guides are potentially relevant and not


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cumulative,      so   there   is    no   “complete     lack   of   benefit”   to

Plaintiff.    Therefore, the Court finds that cost-shifting is not

warranted in this case.

                                    CONCLUSION

     For   the    reasons     set   forth     above,   Plaintiff‟s   Motion   to

Compel (ECF No. 26) is granted in part and denied in part.                    The

attorneys for the parties shall confer within fourteen days of

today‟s order to develop a reasonable time frame for production

of the documents.



     IT IS SO ORDERED, this 27th day of May, 2011.

                                              S/Clay D. Land
                                                       CLAY D. LAND
                                               UNITED STATES DISTRICT JUDGE




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